Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
           Exhibit D - Proof of Claim filed 4-25-2017 Page 13 of 47
Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
           Exhibit D - Proof of Claim filed 4-25-2017 Page 14 of 47
Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
           Exhibit D - Proof of Claim filed 4-25-2017 Page 20 of 47
Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
           Exhibit D - Proof of Claim filed 4-25-2017 Page 21 of 47
Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
           Exhibit D - Proof of Claim filed 4-25-2017 Page 22 of 47
Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
           Exhibit D - Proof of Claim filed 4-25-2017 Page 23 of 47
Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
           Exhibit D - Proof of Claim filed 4-25-2017 Page 24 of 47
Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
           Exhibit D - Proof of Claim filed 4-25-2017 Page 25 of 47
Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
           Exhibit D - Proof of Claim filed 4-25-2017 Page 26 of 47
Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
           Exhibit D - Proof of Claim filed 4-25-2017 Page 33 of 47
Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
           Exhibit D - Proof of Claim filed 4-25-2017 Page 46 of 47
Case 17-06018-can Doc 1-4 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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